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                         UNITED STATES COURT OF APPEALS
                       FOR THE DISTRICT OF COLUMBIA CIRCUIT


SECRETARY OF LABOR (MSHA)                                   :
                                                            :
                         Petitioner,                        :
                                                            :
                 v.                                         :       No       22-1071
                                                            :
                                                            :
KC TRANSPORT, INC. and FEDERAL                              :
 MINE SAFETY AND HEALTH                                     :
 REVIEW COMMISSION,                                         :
                                                            :
                         Respondents.                       :

                 CERTIFIED INDEX TO MATERIALS COMPRISING
                THE ADMINISTRATIVE RECORD FILED PURSUANT
                     TO RULE 17(b) OF THE FEDERAL RULES
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                                          CERTIFICATE


I, Thaddeus Jason Riley, attorney advisor, Federal Mine Safety and Health Review
Commission, hereby certify that the foregoing is a true and correct Index to
Materials Comprising the Administrative Record in the captioned proceeding.


                                                         /s/ Thaddeus Jason Riley
                                                         Thaddeus Jason Riley
